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                                              May 30, 2019



      Via Electronic Filing
      Honorable William Conley
      US District Ct. Western District of Wisconsin
      P.O. Box 591
      Madison, WI 53701-0591



                             Re:   U.S. v. Johnell Britt
                                   18-CR-139


      Dear Judge Conley:

              I am writing in anticipation of sentencing scheduled for June 4, 2019 at 1:00
      p.m.

             I write to advocate for your acceptance of the negotiated plea agreement. The
      parties to the agreement have relied upon Federal Rule of Criminal Procedure
      11(c)(l)(C) which leaves the court with two options: either accept the joint
      recommendation of 84 months imprisonment or reject the plea agreement and allow
      the defendant to withdraw his guilty plea. Many factors support the court finding
      that the recommendation is sufficient but not more than is necessary to meet the
      sentencing purposes described in 18 USC § 3553.

             Seven years of incarceration is a significant amount of time, particularly for
      an individual such as Mr. Britt who is only 20 years old and who has never been to
      prison. The recommended length of incarceration, however, reflects the seriousness
      of his offense, provides just punishment and sends a serious warning to others who
      might consider using a firearm to rob a business. The seven year recommendation
      also serves as acknowledgement that if Mr. Britt were convicted at trial of Count 2
      (a likely outcome given the strength of evidence described in PSR ¶11-13), the court
      would have had no choice but to sentence him to at least seven years. In other
      words, while the court is likely less than enthusiastic over a binding plea agreement
      such as the one in this case, the mandatory minimum sentence that would have
      accompanied a Count 2 conviction would have left the court with no discretion to go
      below seven years. The plea agreement merely moves the mandatory nature of a
      Count 2 conviction and applies it to the Count 1 conviction. What, then, is the
      difference between a Count 1 conviction that binds the court to a 7 year sentence via
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a plea agreement and a Count 2 conviction that carries a statutory mandatory
minimum (and guideline recommendation) of 7 years? The answer lies within the
newly adopted First Step Act of 2018.

       On December 21, 2018 The First Step Act was signed into law thus creating
18 USC § 3632 which is titled “Development of risk and needs assessment system.”
The new law requires the Department of Justice to develop a risk and needs
assessment program for incarcerated individuals. The goal is to steer prisoners
towards successful participation in evidence-based recidivism reduction
programming or productive activities. The incentives for participating in the
programming range from rewards as simple as increased visitation time with family
and friends to rewards as significant as time off of the sentence. The act,
undoubtedly, is an effort to entice prisoners to participate in programs proven to
reduce recidivism. As President Trump explained in his state of the union address,
this bipartisan agreement on prison reform occurred because “America is a nation
that believes in redemption.” The incentives for participating in recidivism
reduction programs, however, are not eligible for prisoners serving time for
violating 18 USC § 924(c). (see 18 USC § 3632(4)(D)(xvii)) If Mr. Britt were to be
convicted of Count 2 he would be ineligible for all the incentives offered to
participate in recidivism reduction programming and the rehabilitation goal of 18
USC § 3553(a)(2)(d) would not be served.

      The proposed plea agreement creates a sentencing structure that imposes a 7
year mandatory minimum that would have resulted if Mr. Britt were convicted of
Count 2 but leaves this young man with incentives to engage in programs that will
reduce the chance he will reoffend when he is released.




                                                            Sincerely,
                                                            JONES LAW FIRM
                                                            /s
                                                            William R. Jones


cc: AUSA Rita Rumbelow (via electronic filing)
    Clerk of Court, Western District of Wisconsin (via electronic filing)




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